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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 17-697-SJO

13             Plaintiff,                     GOVERNMENT’S MOTION TO ADMIT
                                              EVIDENCE RELATING TO DEFENDANT AND
14                   v.                       DEFENDANT’S CO-CONSPIRATOR DOUGLAS
                                              HAMPTON’S ATTEMPTS TO EVADE
15   DANIEL FLINT,                            SECURITY SCREENING OF ALLEGED
                                              DIPLOMATIC COURIER POUCHES
16             Defendant.
                                              Hearing Date:    May 24, 2018
17                                            Hearing Time:    8:30 a.m.
                                              Location:        Courtroom of the
18                                                             Honorable S. James
                                                               Otero
19

20        Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorney Catherine S. Ahn,
23   hereby files its Motion in Limine to Admit Evidence Relating to
24   Defendant and Defendant’s Co-Conspirator Douglas Hampton’s Attempts
25   to Evade Security Screening of Alleged Diplomatic Courier Bags.
26   //
27   //
28   //
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1         This motion is based upon the attached memorandum of points and

2    authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4    Dated: May 8, 2018                   Respectfully submitted,

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9                                           /s/ Catherine S. Ahn
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.   INTRODUCTION
3         Defendant Daniel Flint (“defendant”) is charged with violating

4    49 U.S.C. §§ 46314(a), (b)(2) on or about July 25, 2017, by knowingly

5    and willfully entering Terminal 3 of the Los Angeles International

6    Airport (“LAX”), a secure and sterile area, carrying an item that had

7    not been screened and inspected by the Transportation Security

8    Administration (“TSA”), with the intent to evade security procedures

9    and restrictions.     (See Clerk’s Record (“CR”) 15, Indictment.)

10   Defendant was able to enter the secure area of LAX with the item -- a

11   pouch containing approximately $148,145 in U.S. currency -- by using

12   his false claim of diplomatic status to evade full screening of the

13   pouch at his point of entry earlier that day, at Chicago Midway

14   International Airport (“Midway”).       Through this motion, the

15   government seeks to admit evidence of defendant’s, and his co-

16   conspirator Douglas Hampton’s, attempts to evade TSA security

17   screening of bulk cash by falsely asserting diplomatic protections.

18        The evidence of defendant’s attempts is admissible because it is

19   inextricably intertwined with the charged offense, and, to the extent

20   this Court determined they were not inextricably intertwined, are

21   nonetheless admissible pursuant to Rule 404(b) to show defendant’s

22   motive, knowledge, absence of mistake or accident, and intent in

23   bringing an unscreened bag into LAX Terminal 3 on July 25, 2017, as

24   charged in the indictment.      The evidence of Douglas Hampton’s,

25   defendant’s co-conspirator and employer, attempts, to evade TSA

26   security screening is also admissible under Rule 404(b) to show

27   defendant’s knowledge, absence of mistake or accident, and intent, as

28   well as pursuant to Ninth Circuit precedent regarding inextricably
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1    intertwined acts.     United States v. Loftis, 846 F.3d 1173, 1177 (9th

2    Cir. 2016).

3    II.   FACTUAL BACKGROUND
4          A.   Defendant’s Attempts to Evade Screening in July 2017
5               1.    Defendant Attempts to Evade Security Screening at
                      Chicago O’Hare Airport on July 20, 2017 and is Denied
6

7          On July 20, 2017, at approximately 2 p.m., defendant entered the

8    TSA security checkpoint area for the Chicago O’Hare International

9    Airport (“ORD”) with a purported diplomatic pouch, a laminated IHRC

10   diplomatic courier identification card, a purported diplomatic

11   courier letter dated July 20, 2017 that was stamped with the

12   purported seal of the IHRC, and his Michigan driver’s license.             (See

13   Gov’t. Exh. A, ORD TSA Incident Report for July 20, 2017 at 6-10

14   (filed under seal).)     Defendant was booked on a Virgin American

15   Airlines ticket traveling from ORD to LAX that day.           (Id. at 6.)

16   Supervisory Transportation Security Officer (“STSO”) Christopher

17   Kotula and supervisory TSA managers reviewed defendant’s

18   documentation and ultimately denied defendant’s request to exempt his

19   pouch from full screening because defendant lacked proper

20   identification -- specifically, a diplomatic passport.           (Id. at 7-8.)

21         The laminated identification card presented by defendant to TSA

22   personnel included defendant’s picture, the IHRC logo, and had the

23   word “DIPLOMAT” printed in large font across the card.           (Id. at 9.)

24   It was not, however, a diplomatic passport, which is a required

25   identification document for the clearance of diplomatic pouches.

26   (Id. at 8; see also Gov’t. Exh. B, TSA Standard Operating Procedures

27   at 3 (filed under seal).)      After STSO Kotula informed defendant that

28   his pouch would not be exempt from full screening, defendant asserted

                                             2
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1    TSA “does not know the law,” referenced the “Geneva Convention” 1 and

2    claimed that “he [had] flown through many airports and has had no

3    issues.”   (See Gov’t. Exh. A at 8.)       STSO Kotula informed defendant

4    that STSO Kotula was following TSA’s Standard Operating Procedures,

5    and asked supervisory TSA managers to assist him after defendant

6    continued to insist his credentials were sufficient.           (Id.)   The

7    managers confirmed STSO Kotula’s determination and escorted defendant

8    to the non-sterile area of the airport.        (Id. at 7.)     TSA personnel

9    later learned that defendant had cancelled his flight.            (See Gov’t.

10   Exh. C, ORD Warning dated July 20, 2017 at 1 (filed under seal).)

11              2.    Defendant Travels to Midway Airport and Successfully
                      Evades Screening on July 20, 2017 and July 25, 2017
12

13        Defendant’s attempt to evade security screening at ORD took

14   place at approximately 2 p.m. on July 20, 2017; within an hour-and-a-

15   half defendant had booked a different flight from Midway to LAX and

16   was at the Midway TSA security screening checkpoint asserting

17   diplomatic protections over his pouch.        (See Gov’t. Exh. D, MDW

18   Incident Summary dated July 21, 2017 and Training Bulletin at 1

19   (filed under seal).)     Defendant still lacked a diplomatic passport,

20   but this time -- in addition to presenting his laminated diplomatic

21   identification card, his purported diplomatic courier letter, and his

22   driver’s license -- defendant also identified himself as an attorney

23   by presenting his State Bar identification card.          (Id.)   Unlike their

24

25
          1 It is unclear which Geneva Convention defendant intended to
26   reference, but the four Geneva Conventions have generally addressed
     international humanitarian law as it relates to the law of armed
27   conflict. (See e.g., The Fourth Geneva Convention Relative to the
     Protection of Civilian Persons in the Time of War (1949), available
28   at http://www.un.org/en/genocideprevention/documents/atrocity-
     crimes/Doc.33_GC-IV-EN.pdf).)
                                        3
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1    counterparts at ORD, Midway TSA personnel lacked experience with

2    diplomatic couriers and defendant was permitted to enter the secure

3    area of Midway airport without submitting his pouch to full

4    screening.   (Id.)    At approximately 10 p.m. that day -- hours after

5    defendant had successfully circumvented Midway’s security screening

6    process -- TSA personnel at ORD sent Midway a “Be On the Lookout”

7    (“BOLO”) message warning of defendant’s attempted to evade airport

8    security screening procedures at ORD.        (See Gov’t. Exh. D at 2-3.)

9    Midway TSA management disseminated a “Training Bulletin” advising its

10   personnel that, among other things, a diplomatic courier must possess

11   a diplomatic passport.      (See Gov’t. Exh. D at 5.)

12        Five days later, on the morning of July 25, 2017, defendant

13   returned to Midway with another diplomatic courier letter, his

14   laminated diplomatic identification card, his purported diplomatic

15   courier pouch, and another ticket to fly from Midway to LAX.            (See

16   Gov’t. Exh. E, Midway Email and Statement at 3-4 (filed under seal)

17   and Gov’t. Exh. F, Flint Documentation and Images on July 25, 2017 at

18   1, 3-4 (obtained by LAX personnel and filed under seal.)           Midway TSA

19   again improperly permitted defendant to evade screening of his

20   alleged diplomatic pouch, incorrectly identifying defendant’s

21   laminated identification card as a “diplomatic passport card.”             (See

22   Gov’t. Exh. E at 4.)     After discovering the error, Midway security

23   officials contacted LAX to request a reverse screening of defendant’s

24   pouch when defendant landed.       (Id. at 3; see also CR 1, Complaint

25   Aff. at ¶¶ 10-11.)

26              3.    Defendant’s Interception at LAX Terminal 3

27        Law enforcement officers, including Special Agents with the

28   Federal Bureau of Investigation (“FBI”), intercepted defendant when

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1    he landed and deplaned at Terminal 3 of LAX.         (See Compl. Aff. at

2    ¶¶ 10-11; see also Gov’t. Exh. G at 1.)        Defendant carried the

3    unscreened pouch with him into the secure area of Terminal 3, and

4    consented to an interview with FBI.         (See Gov’t. Exh. G at 1-2.)

5    Defendant informed the agents that, among other things, defendant was

6    an attorney who had worked for Douglas Hampton at the Hampton Law

7    Group since 2010; explained that he was a U.S. national who had been

8    a diplomat for the IHRC representing the U.S. Ambassador for the

9    IHRC, Robert Shumake for the last several months; asserted that

10   defendant was entitled to diplomatic immunity under his “reading” of

11   the “Geneva Convention”; and stated that he was unaware of the

12   diplomatic passport requirement for courier pouches.           (See Gov’t.

13   Exh. G at 1-4.)    Defendant further asserted that he did not recall

14   ever being denied entry after presenting his credentials to exempt

15   his diplomatic pouch from screening, noting that his interception at

16   LAX by law enforcement was “a complete shock -- how am I supposed to

17   know?”   (Id. at 3-4.)    Defendant did, however, admit that the pouch

18   he had carried with him into Terminal 3 of LAX had not been subject

19   to full screening, id. at 4-5, and that he had himself laminated his

20   purported diplomatic identification card to protect it from being

21   damaged.   (See Compl. Aff. at ¶ 11(d).)

22        FBI also obtained a copy of the alleged July 24, 2017 diplomatic

23   courier letter.    The July 24, 2017 letter was substantially similar

24   to the July 20, 2017 letter copied by TSA personnel at ORD.            Both

25   letters: (1) identified defendant as the “General Counsel and

26   Diplomatic Courier” to the “Office the [IHRC]”; (2) identified a

27   diplomatic pouch as containing “content of legal origin” to be

28   “transported . . . to our main offices in San Francisco,” despite

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1    listing a non-existent Los Angeles address at the bottom of the

2    letter; (3) identified the purpose of the funds as “philanthropic

3    projects . . . in the United States and throughout the Africa and the

4    Caribbean markets” of which a “portion shall be utilized as down

5    payment on real estate transactions in northern California,” despite

6    defendant’s ticket ending at LAX; (4) cited “Articles 27.3 through

7    27.6 of the Vienna Convention on Diplomatic Relations 2 (VCDR),” in

8    asserting diplomatic protections over the pouch, despite that

9    convention only applying to nation states, rather than either

10   international or non-governmental organizations; and (5) was signed

11   by “H.E. R.S. Shumake” with the title, “Ambassador at Large, United

12   Nations Representative, International Human Rights Commission,

13   Americas, African Union, and United Nations Designee,” and is stamped

14   with the “Seal of the World Chairman” of the IHRC.           (See Gov’t. Exh.

15   F at 3-4 and Gov’t. Exh A at 9-10; see also Gov’t. Exh. G at 3, 5-6.)

16         After asserting attorney-client privilege over the pouch,

17   defendant was permitted to make multiple phone calls to Douglas

18   Hampton, as well as the alleged IHRC Ambassador Robert Shumake, and

19   obtained Shumake’s permission to open the pouch.           (See Gov’t. Exh. G

20   at 4.)   The pouch was unlocked to reveal approximately $148,145 in

21   bulk cash loosely wrapped in “Mariano’s” and “Walmart” plastic

22   shopping bags.     (See Gov’t. Exh. F at 5-7.)       After a Drug Enforcement

23

24
          2 The VCDR (1961) governs relationships between states and/or
25
     nations; a different convention, the Vienna Convention on the
26   Representation of States in their Relations with International
     Organizations of a Universal Character (1975) (“VCIO”) governs
27   relations between states and international organizations, to include
     protections for official correspondence. (Compare VCDR, Preamble and
28   Arts. 1 and 27 with VCIO, Preamble and Arts. 1 and 27.)

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1    Administration (“DEA”) drug canine positively alerted to the funds 3,

2    the cash was seized by DEA and defendant was cited and released.

3    (See Gov’t. Exh. G at 6.)

4          B.    Douglas Hampton’s Similar Attempt to Transport and Evade
                 Security Screening of Bulk Cash by Falsely Asserting
5                Diplomatic Protections in August 2016
6          On August 22, 2016, approximately six years into defendant’s

7    employment with Douglas Hampton, and less than a year before

8    defendant’s attempts to evade security screening in Chicago, Hampton

9    also attempted to transport and evade security screening of bulk cash

10   by falsely asserting the pouch containing the cash was protected by

11   diplomatic immunities on behalf of the purported Ambassador Robert

12   Shumake and the IHRC.      (See Gov’t. Exh. H, Seizure of $170,210 from

13   Douglas Hampton on August 22, 2016, at 1-2 (filed under seal).)             In

14   support of his claim, Hampton presented a “direction letter” to

15   security officers at the Hartfield-Jackson-Atlanta International

16   airport (“ATL”) that bore a similar IHRC logo as defendant’s July

17   2017 letters, and made similar assertions, but directed questions

18   related to the letter and Hampton’s transport of bulk cash to the

19   organization or defendant himself.        (See Gov’t. Exh. H at 10-11.)

20         Although Hampton did not have a diplomatic identification card,

21   real or otherwise, his letter: (1) identified Hampton as “Designated

22   Agent pursuant to [his] appointment as General Legal Counsel to the

23   Office of the [IHRC]”; (2) identified $147,000 of the cash Hampton

24   carried as being “of legal origin” that “is being transported [to

25

26         3The government does not intend to introduce evidence of the
     positive drug alerts at this time, but notes it in the factual
27   background to highlight the similarity between defendant’s and
     Douglas Hampton’s attempts to transport bulk cash on behalf of the
28   IHRC by asserting diplomatic protections and provide one of the bases
     for its seizure by investigating authorities.
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1    fund] philanthropic projects on behalf of the [IHRC] throughout

2    Africa and the Caribbean markets,” despite Hampton’s statement he was

3    supposed to provide it to an unknown individual in San Francisco;

4    (3) cited “Articles 23 through 30 of the Vienna Convention on

5    Representation of States in their relations with International

6    Organizations of a Universal Character” in asserting diplomatic

7    protections over the funds; and (4) was signed by “H.E. R.S. Shumake”

8    with similar titles as on defendant’s letters.          (See Gov’t. Exh. H at

9    10-11.)

10         Hampton’s letter also identified defendant “Daniel C. Flint,

11   Esq.” as the “General Counsel” for the IHRC and instructed that any

12   questions should be directed to the organization or to defendant.

13   (Id. at 10-11.)     After a smell of marijuana was noted by Atlanta’s

14   airport security personnel, Hampton asserted that the smell was

15   coming from the pouch, rather than from Hampton, and -- similar to

16   defendant’s pouch -- a certified narcotics detection canine

17   positively alerted to the bulk cash being transported by Hampton for

18   Shumake and the IHRC.      (Id. at 6-7.)    The currency referenced in the

19   letter and the additional cash carried by Hampton, totaling

20   approximately $170,000, was subsequently seized. 4         (Id. at 9.)

21   III. ARGUMENT
22         The government seeks to admit the following evidence through

23   this motion; first, evidence related to defendant’s interactions with

24   Chicago airport security officials on July 20, 2017 and July 25,

25   2017, which led directly to defendant’s use of Midway to board a

26

27         4Hampton’s statements were apparently recorded, see Gov’t. Exh.
     H at 9, but the government is still attempting to obtain a copy for
28   disclosure to defense and use at trial. If unavailable, the
     government would offer the testimony of the interviewing officer.
                                        8
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1    flight and ultimately carry an unscreened item into LAX Terminal 3 on

2    July 25, 2017, as charged in the indictment.          Second, the government

3    seeks to admit evidence related to Hampton’s unsuccessful attempt to

4    transport bulk currency on behalf of the IHRC, based on a letter from

5    Robert Shumake asserting diplomatic privileges over the funds and

6    directing questions to “General Counsel Daniel C. Flint.”            (See

7    Gov’t. Exh. H at 11.)      This evidence is admissible because it is

8    inextricably intertwined with the charged offense, and is also

9    admissible pursuant to Rule 404(b) to show defendant’s motive,

10   knowledge, absence of mistake or accident, and intent in bringing an

11   unscreened bag into LAX Terminal 3 on July 25, 2017, as charged.

12         A.     Defendant’s July 2017 Interactions with TSA at Chicago
                  O’Hare and Midway Airports are Admissible
13
                  1.   Defendant’s July 2017 Attempts to Evade Screening are
14                     Inextricably Intertwined with the Offense

15         As a general matter, other acts evidence needs to fall under one

16   of the permissible bases articulated in Rule 404(b) to be admissible.

17   See Fed. R. Evid. 404(b).       However, as recently reiterated by the

18   Ninth Circuit in United States v. Loftis, when “evidence concerning

19   the ‘other’ act and the evidence concerning the crime charged are

20   inextricably intertwined,” the requirements of Rule 404(b) do not

21   apply.     Loftis, 846 F.3d at 1177 (internal citations omitted).           The

22   Court relied, among others, on the Ninth Circuit’s prior precedent in

23   United States v. Dorsey, 677 F.3d 944 (9th Cir. 2012), in which the

24   Court identified “two general categories of other act evidence [that]

25   may be inextricably intertwined and thus exempted from the

26   requirements of Rule 404(b).       First, other act evidence may

27   constitute a part of the transaction that serves as the basis for the

28   criminal charge.     Second, admission of the other act evidence may be

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1    necessary to permit the prosecutor to offer a coherent and

2    comprehensible story regarding the commission of the crime.”             Id. at

3    952 (internal quotations and citations omitted.)

4          The evidence related to defendant’s July 25, 2017 interactions

5    with Midway TSA personnel is admissible because constitutes a part of

6    the charged transaction and is inextricably intertwined with the

7    charged offense.     Id.   Defendant’s travel on July 25, 2017 did not

8    begin at LAX Terminal 3, where the offense occurred.           Rather,

9    defendant initiated his travel to LAX at Midway airport.            One of the

10   elements of the charged offense is that defendant knowingly and

11   intentionally carried unscreened items -- the alleged diplomatic

12   pouch -- into the secure area of Terminal 3 at LAX.           (See CR 15,

13   Indictment at 1.)     Even setting aside the government’s obligation to

14   prove defendant’s knowledge and intent, evidence of defendant’s

15   screening process at Midway on July 25, 2017 is needed to prove

16   whether defendant’s pouch was unscreened when he landed at LAX.

17   Therefore, evidence of defendant’s prior interaction with TSA at

18   Midway on the date of the charged offense falls squarely within

19   Dorsey’s first category of inextricably intertwined evidence.

20   Dorsey, 677 F.3d at 952.

21         Similarly, the evidence of defendant’s unsuccessful attempt to

22   evade TSA security screening at ORD on July 20, 2017, and his near-

23   immediate travel to Midway to successfully evade security screening,

24   is inextricably intertwined with defendant’s evasion of security

25   screening five days later.       First, under the analysis employed by the

26   Ninth Circuit in Loftis, defendant’s acts on July 20, 2017 were part

27   of the same overall scheme that enabled defendant to enter Terminal 3

28   of LAX with an unscreened, false diplomatic courier bag on July 25,

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1    2017.    Loftis, 843 F.3d at 1177.      In that case, the Ninth Circuit

2    held that “uncharged transactions that are part of an overall scheme

3    are part of the same transaction as the charged transactions” and

4    therefore fall under the inextricably intertwined exception to Rule

5    404(b).    Id.   In other words, separate, even uncharged acts may be

6    part of the same transaction as the charged act if the charged and

7    uncharged acts are part of the same overall scheme.           If so, such

8    other acts would fall within the first category of inextricably

9    intertwined acts identified by the Ninth Circuit in Dorsey.            Dorsey,

10   677 F.3d at 951.

11           On both days, and in all three Chicago airport interactions,

12   defendant presented a false diplomatic courier letter from the IHRC

13   asserting diplomatic protections over a pouch transporting bulk

14   currency for, among other things, philanthropic projects and a cash

15   deposit for real estate in northern California.          (See Gov’t. Exh. A

16   at 9-10, Gov’t. Exh. D at 2, and Gov’t. Exh. F at 3-4.)            On both

17   days, and in all three Chicago airport interactions, defendant

18   presented a false, laminated diplomatic identification card as part

19   of his diplomatic credentials, and used the card to assert that he

20   was a credentialed diplomat exempt from airport security screening

21   requirements, despite possessing no diplomatic passport.            (See Gov’t.

22   Exh. A at 8, Gov’t. Exh. D at 2, and Gov’t. Exh. F at 1.)            Last but

23   not least, on both days, and in all three Chicago airport

24   interactions, defendant attempted to initiate a flight itinerary

25   beginning in the Chicago area and ending in LAX, despite the letters’

26   assertions that the cash was, in part, intended to purchase real

27   estate in northern California.       (See Gov’t. Exh. A at 2, Gov’t. Exh.

28   D at 2, and Gov’t. Exh. E at 3.)        These acts in furtherance of

                                            11
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1    defendant’s scheme to fraudulently use diplomatic immunity to

2    transport and evade TSA screening and detection of large amounts of

3    bulk cash were all closely related in time, geography, and

4    methodology and directly led to the charged offense at LAX Terminal 3

5    on July 25, 2017.     Even the alleged diplomatic courier letters are

6    nearly identical, providing the same explanations, the same non-

7    existent Los Angeles address, the same reference to diplomatic

8    protections, with the exception of the date gracing the top of the

9    page.   (See see Gov’t. Exh. G at 5-6; see also Gov’t. Exh. A at 9-10,

10   Gov’t. Exh. D at 2, and Gov’t. Exh. F at 3-4.)

11         The July 20, 2017 attempt also falls under Dorsey’s second

12   category of inextricably intertwined evidence, which provides for

13   admission of evidence that “may be necessary to permit the prosecutor

14   to offer a coherent and comprehensible story regarding the commission

15   of the crime.”     Dorsey, 677 F.3d at 951.      Defendant’s July 20, 2017

16   unsuccessful attempt to evade screening at ORD directly led to

17   defendant’s cancellation of his ORD-LAX ticket and his successful

18   attempt to pass through security screening at Midway less than two

19   hours later.    (See Gov’t. Exh. D at 1.)       Defendant’s successful

20   evasion of full screening of his purported diplomatic pouch on July

21   20, 2017, after being denied at ORD, also provides a direct

22   explanation for why defendant returned to Midway only five days later

23   with nearly identical credentials and documentation and landed at LAX

24   Terminal 3, as charged in the indictment.         (See Gov’t. Exh. A at 8-

25   10, Gov’t. Exh. D at 2, and Gov’t. Exh. F at 1-4; see also CR 15,

26   Indictment at 1-2.)     The two are directly connected, and evidence of

27   defendant’s July 20, 2017 attempts to evade security screening

28   procedures at ORD and Midway are also admissible under the second

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1    category of inextricably intertwined acts identified by the Ninth

2    Circuit in Dorsey.

3                2.    Defendant’s July 2017 Attempts to Evade Screening are
                       Admissible Under Rule 404(b) to Prove Defendant’s
4                      Motive, Knowledge, Absence of Mistake, and Intent

5          To convict defendant of entering an airport area in violation of

6    security requirements, as charged in the indictment, the government

7    must prove beyond a reasonable doubt that: (1) defendant knowingly

8    and willfully entered an aircraft or airport area that serves an air

9    carrier, in knowing and willful violation of security requirements

10   prescribed by statute; and (2) defendant intended to evade security

11   procedures and restrictions.       See 49 U.S.C. §§ 46314(a), (b)(2).           In

12   the instant case, the government must prove that defendant knowingly

13   and intentionally “entered a secured and sterile area of Terminal 3”

14   at LAX carrying unscreened items -- the alleged diplomatic pouch

15   containing bulk cash -- by intentionally evading security screening

16   for that pouch.     (See CR 15, Indictment at 1-2.)

17         Although a Rule 404(b) analysis is not necessary for the reasons

18   described above, defendant’s July 20, 2017 and July 25, 2017

19   interactions with TSA at ORD and Midway would nonetheless be

20   admissible under Rule 404(b) to prove defendant’s motive, knowledge,

21   absence of mistake or accident, and intent.          See Fed. R. of Evid.

22   404(b)(2).    The government must be able to show defendant knew that

23   his fraudulent assertion of diplomatic protections to exempt his

24   pouch from screening was an evasion of airport security screening

25   procedures, and that because he intentionally sought to evade

26   required screening of his pouch, defendant knowingly and

27   intentionally carried an unscreened item into a secure and sterile

28   area at his destination airport, LAX, in violation of airport

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1    security requirements.      (See CR 15, Indictment.)       TSA’s refusal to

2    permit defendant to exempt his purported pouch from screening at ORD

3    on July 20, 2017 because he lacked proper identification documents --

4    specifically, a diplomatic passport -- is therefore highly probative

5    of defendant’s knowledge and intent.        By virtue of his rejection at

6    ORD on July 20, 2017 and his immediate decision to try flying out of

7    Midway, defendant knew that his documents were insufficient but

8    nonetheless knowingly and intentionally took steps to evade the

9    procedures implemented at ORD by seeing if he could evade security at

10   Midway.    When defendant presented the same or nearly identical

11   documents to Midway on July 20, 2017 and July 25, 2017 that ORD had

12   deemed insufficient, defendant did so in knowing and intentional

13   violation of the law.

14         Furthermore, defendant’s denial at ORD provides defendant’s

15   motive for his near-immediate and successful attempt to travel out of

16   Midway that same day, and his later return to Midway on July 25, 2017

17   for the charged offense.      Defendant’s denial of entry at ORD on July

18   20, 2017 also provides evidence of defendant’s mental state when he

19   falsely informed FBI agents -- only five days later -- that “he did

20   not recall ever being turned away after presenting his diplomatic

21   documentation and pouch for screening exemption at an airport

22   screening checkpoint.”      (See Gov’t. Exh. G at 3.)

23         B.    Hampton’s Unsuccessful Attempt to Evade Security Screening
                 for Bulk Cash by Falsely Asserting IHRC Diplomatic
24               Immunities is Admissible
25               1.   Hampton’s Attempt is Admissible Under Rule 404(b) or
                      the Ninth Circuit’s Definition of Inextricably
26                    Intertwined Acts in Loftis
27         The letter presented by Hampton to airport security officials in

28   the Atlanta airport on August 22, 2016, and his statements in

                                            14
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1    furtherance of the scheme to transport bulk cash, are admissible

2    because they are inextricably intertwined with defendant’s acts in

3    furtherance of the same scheme.        See Loftis, 846 F.3d at 1177.

4    Furthermore, if considered under Rule 404(b), Hampton’s unsuccessful

5    attempt to evade TSA security screening using a “direction letter”

6    identifying defendant as the “General Counsel” to whom questions

7    about the bulk cash transport should be directed is admissible to

8    prove defendant’s knowledge, absence of mistake or accident, and

9    intent with respect to the charged offense.          See Fed. R. Evid.

10   404(b)(2) and Gov’t. Exh. H at 10-11.

11         Hampton’s unsuccessful attempt to evade security screening of a

12   pouch containing $147,000 in bulk cash took place in August 2016, six

13   years into his employment relationship with defendant and a mere

14   eleven months before defendant’s July 2017 attempts in Chicago.             (See

15   Gov’t. Exh. G at 2 and Gov’t. Exh. H at 1-2.)          Hampton’s and

16   defendant’s attempts share striking similarities: the transport of

17   approximately $147,000 and $148,000 in bulk cash, respectively, in a

18   locked pouch; the references to diplomatic immunities in a Vienna

19   Convention as a basis for screening exemption; the asserted

20   philanthropic purpose of the funds as well as for the purchase of

21   real property; the defensive assertion that cash was commonly used

22   for real property investments and that the funds were “of legal

23   origin”; and, last but not least, issuance of the letters by alleged

24   Ambassador and “UN Designee” Robert Shumake and their explicit

25   reliance on defendant as the “General Counsel” of the IHRC.            (See

26   Gov’t. Exh. H at 10-11; Gov’t. Exh. F at 3-4; Gov’t. Exh. A at 9-10.)

27   Hampton and defendant’s experience even share a positive alert by a

28   narcotics detection canine, which led to the seizure of the bulk cash

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1    Hampton and defendant were attempting to transport on August 22, 106

2    and July 25, 2017, respectively.        (See Gov’t. Exh. H at 10 and Gov’t.

3    Exh. G at 6; see also supra at fn. 3.)         Given these similarities in

4    purpose, method, quantity of cash, and even the identities of the

5    individuals involved -- Hampton, defendant as IHRC General Counsel,

6    and Shumake as the alleged IHRC Ambassador -- as well as the

7    closeness in time between the events and the funds’ common geographic

8    destinations in California for real estate, Hampton and defendant’s

9    acts were done in furtherance of their common scheme to fraudulently

10   assert diplomatic immunity to smuggle bulk cash without screening.

11   (See Gov’t. Exh. H at 10-11, Gov’t. Exh. F at 3-4, and Gov’t. Exh. A

12   at 9-10.)    Hampton’s acts are, therefore, inextricably intertwined

13   with defendant’s charged offense and are therefore admissible based

14   on Ninth Circuit precedent.

15         Furthermore, if this Court were to determine that Hampton’s

16   August 22, 2016 attempt to transport bulk cash is not admissible

17   based on being inextricably intertwined with the charged offense,

18   Hampton’s prior attempt is still admissible pursuant to Rule 404(b)

19   to prove defendant’s knowledge, absence of mistake or accident, and

20   intent.   The seizure of a total of approximately $170,000 in cash

21   (including Hampton’s own fee), see Gov’t. Exh. H at 6, based on

22   Hampton’s failed assertion of a diplomatic exemption is highly

23   relevant to defendant’s knowledge and intent when he attempted to

24   similarly assert diplomatic immunities over the pouches he

25   transported eleven months later.        This evidence is particularly

26   probative given the similarities between Hampton’s letter and the

27   letters defendant used in July 2017, and the letter’s explicit

28   reliance on “General Counsel Daniel C. Flint” in answering questions

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1    related to Hampton’s questionable transport of bulk cash.            (Id. at

2    11.)    In sum, Hampton’s failed August 2016 attempt is admissible

3    under Rule 404(b) because it helps prove that defendant’s later

4    attempts to evade security screening and carry unscreened items into

5    secure areas of the airport -- as charged in the indictment -- were

6    knowingly and intentionally done in violation of the law.

7                2.   Testimony Regarding Hampton’s Prior Statements and
                      Attempt is Not Hearsay
8

9           As discussed herein, the evidence related to Hampton’s

10   unsuccessful attempt to evade TSA security screening procedures is

11   comprised of his letter, and his statements in furtherance of the

12   scheme to evade screening of bulk cash allegedly transported on

13   behalf of the IHRC on or about August 22, 2016.          (See Gov’t. Exh. H.)

14   The government would seek to present Hampton’s statements through the

15   testimony of the interviewing officer at trial or through an audio-

16   recording of Hampton’s interview, if available.          (See supra fn. 4.)

17   Since the government is not offering Hampton’s statements for the

18   truth of the matter asserted (e.g., that Hampton was, in fact,

19   entitled to diplomatic immunities under a Vienna Convention), but

20   rather its effect on subsequent events, those statements and the

21   letter are not hearsay.      See Fed. R. Evid. 801(c)(2).

22          The interviewing officer’s testimony of Hampton’s statements is

23   additionally not hearsay because Hampton’s statements are a co-

24   conspirator’s statement in furtherance of an uncharged conspiracy --

25   specifically, a conspiracy with the alleged Ambassador Robert Shumake

26   and defendant to transport unscreened bulk cash by falsely asserting

27   diplomatic immunities and evading normal TSA screening.            See Fed. R.

28   Evid. 801(d)(2)(E).     In United States v. Lloyd, 807 F.3d 1128 (9th

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1    Cir. 2015), the Ninth Circuit held that that statements may be

2    admitted under Rule 801(d)(2)(E) even if a conspiracy count was not

3    charged, and that “the question is merely whether there was proof of

4    sufficient concert of action to show the individuals to have engaged

5    in a joint venture.”      Lloyd, 807 F.3d at 1160-1161 (internal

6    citations omitted).     Given defendant’s employment with Hampton

7    beginning six years prior to Hampton’s denial of entry at Atlanta

8    (see Gov’t. Exh. G at 4); defendant’s identification in Hampton’s

9    letter as responsive to questions regarding the attempted transport

10   of bulk cash and its subsequent seizure (see Gov’t. Exh. H at 11);

11   defendant’s then-identification and continued identification as the

12   “General Counsel” of the IHRC on the letters asserting diplomatic

13   immunities and protections over the transported bulk cash (see Gov’t.

14   Exh. H at 11, Gov’t. Exh. F at 4, and Gov’t. Exh. A at 9); and

15   defendant’s later repeated phone calls to Hampton and Shumake

16   regarding the pouch after he was intercepted at LAX on July 25, 2017

17   (see Gov’t. Exh. G at 9), there is more than sufficient “concert of

18   action” to show engagement in a joint venture.          Lloyd, 807 F.3d at

19   1161.

20   IV.   CONCLUSION
21         For the foregoing reasons, the government respectfully requests

22   that this Court find evidence of defendant and Hampton’s attempts to

23   evade TSA security screening of bulk cash by falsely asserting

24   diplomatic immunities and protections admissible based on Ninth

25   Circuit precedent regarding inextricably intertwined acts and, if the

26   Court determined they were not inextricably intertwined, based on

27   their proof of defendant’s motive, knowledge, absence of mistake or

28   accident, and intent under Rule 404(b).

                                            18
